
10 Ill. App.2d 63 (1956)
134 N.E.2d 28
Vernon H. Anderson, Plaintiff-Appellee,
v.
Board of Education of School District No. 70, Winnebago County, Illinois, Defendant-Appellant.
Gen. No. 10,912.
Illinois Appellate Court  Second District.
April 27, 1956.
Released for publication May 16, 1956.
Henry H. Caldwell, for appellant.
Henry H. Caldwell, of counsel.
Berry &amp; Simmons, for appellee.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE DOVE.
Judgment order reversed.
Not to be published in full.
